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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Kiesque, Incorporated                         )
                                              )
v.                                            )        Case No. 18-cv-7761
                                              )
THE PARTNERSHIPS and                          )        Judge: Hon. Charles P. Kocoras
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A”                    )        Magistrate: Hon. Mary M. Rowland
                                              )
                                              )

                                        Voluntary Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Kiesque Incorporated, voluntarily

dismiss any and all claims against defendants without prejudice:

 Doe        Store Name                       ID Number
 1          anail                            anail
 5          canni68                          canni68
 38         Beautiful As You Store           3192080
 42         Beautiful Secret Store           2406022
 63         Cozy Life                        2178071
 74         Fairness Nail Art Store          3197041
 86         Happy Together Happy Life        1852771
 120        Makeup Everyday Store            3194056
 205        Your Own Shopping Time           1924270
 226        CoulorButtons                    A1WWNU4BJOFUWD
 366        nicolediary                      nicolediary
 405        bettystrade                      58ca32d403ecc55137ba3eb1
 555        shenzhenyiyunruiligongsi         5618892f3a698c47312b2beb



Dated: March 27, 2019
                                              Respectfully submitted,


                                              By:       s/David Gulbransen/
                                                       David Gulbransen
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                                        Attorney of Record

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